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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

           v.
                                                          Case No: 1:17-cr-00161-TSC
 IMRAN AWAN

                         Defendant.


                                            ORDER

        Upon consideration of Defendant Imran Awan’s Motion to Modify Conditions of

Release (ECF No. 44), and the Government’s Opposition thereto, it is hereby:

        ORDERED that the Motion is GRANTED in part and DENIED in part, and it is further

        ORDERED that Defendant’s curfew and drug testing/drug program requirements are

hereby vacated. Defendant shall continue wearing the GPS monitoring device and is still

permitted to travel within a 150-mile radius of his stated residence.

        ORDERED that all other conditions of release stated on the Release to PSA’s High

Intensity Supervision Program form (ECF No. 8), including Defendant’s reporting obligations,

shall remain in place.


Dated: January 3, 2018


                                            Tanya S. Chutkan
                                            TANYA S. CHUTKAN
                                            United States District Judge 
